Case 1:18-cv-01773-RDM Document 3-6 Filed 07/31/18 Page 1 of 7




            EXHIBIT F
                      Case 1:18-cv-01773-RDM Document 3-6 Filed 07/31/18 Page 2 of 7




                          MINUTES FROM ŽELEZARA SMEDEREVO D.O.O.
                                XV SUPERVISORY BOARD SESSION
                            held in Smederevo on: June 13, 2016 at 9:00 AM


Present:
   1. John Goodish – President of the Supervisory Board
   2. Peter Kamaras – member of the Supervisory, participating via conference line
   3. Bojan Bojkovic – member of the Supervisory Board
   4. Aleksandar Andonovski – member of the Supervisory Board
   5. Boris Milosevic – member of the Supervisory Board
   6. Stanislav Barica – General Director
   7. Svetislav Kostadinovic – Executive Director Commercial
   8. Pavol Vrchovinsky – Executive Director Finance
   9. Natasa Tijanic – Executive Director Legal at Zelezara Smederevo
   10. Dusanka Rankovic – Manager of the Office of Supervisory Board at Zelezara Smederevo

Per invitation of the Chairman of the Supervisory Board representative of He Steel Mr. Wang Lianxi was
participating the Session.

Proposed Agenda for this meeting is as follows:

                                                  AGENDA

    1)   Adoption of the minutes from Supervisory Board Session held on 15.04.2016.
    2)   Sales review
    3)   Operation and Financial review
    4)   Raw materials plan
    5)   Legal review
               Ardagh – update
               Adoption of the Draft Agreement with FMP

    6) KPMG – MSA Key Indicators
    7) Other
       - Privatization
       - Further fulfillment of CP conditions

    1. Information on the visit of Zelezara’s management and trade union representatives in Tangshan during
       May

    2. Information on the current shareholders and current authorized legal representatives of HPK Engineering
       BV Netherlands, as well as changes in the shareholders and authorized representatives of HPK
       Engineering BV Netherlands during the period between 21st May 2015 (signing of the Management
       Service Agreement) until today

    3. Discussions on the matter of Special Duties owed to the Company by its director and/or SB member and
       /or shareholder

    4. Discussion on operations of Zelezara after the Closing of privatization with Hesteel (Serbia) Iron &
       Steel d.o.o. - namely, coordination and staffing need for winding down of Zelezara post-Closing


Proposed Agenda has been adopted unanimously.




                                                                              1
                      Case 1:18-cv-01773-RDM Document 3-6 Filed 07/31/18 Page 3 of 7




Natasa Tijanic and Dusanka Rankovic have been assigned for Minutes preparation.



                                                     Point 1.

Point 1 of the Agenda - Review and adoption of the meeting minutes from April 15, 2016.

Meeting minutes were unanimously adopted and hereby attached.


Prior to Sales report, N. Tijanic reported about legalization process which has been successfully ended and all
facilities lacking construction and/or operation permit have been logged into Cadaster books. All buildings in
matter were registered as buildings/facilities with operation permit on the ground of issued report on suitability
of the building for operation. All activities related to the matter of legalization were recognized and approved by
SB. Calculation of legalization fees is in progress and upon its completion Zelezara will make necessary
payments.

                                                     Point 2

Point 2 of the Agenda – Sales review

S. Kostadinovic reported about Sales strategy and market situation stating that conditions are improving,
demands for our steel products from all markets is better and stable. Our plan for May was at the level of 90.000
tons and achieved and for June 110.000 tons. Price increase in June has been estimated at the level of 45-50
Euros per ton comparing May prices with expectations of further price increase in July for all products. Plan for
July is also 110.000 tons and for August little less 100.000 tons. Although we expect same price level in August
as for July that might be difficult due to summer vacations, market situation and full warehouses of our
customers. September booking has not been started jet.
J.Goodish’s question was about our September booking and why we haven’t started?
S. Kostadinovic responded that we haven’t started yet due to end of privatization and instructions from new
owner.
J.Goodish stated an opinion that we should not wait for instruction better to proceed with our judgment and send
a letter to Hesteel advising them of our approach.
B. Milosevic asked what is our product ration in domestic and Ex Yu markets?
S. Kostadinovic responded 60% share. Domestic customers mostly are buying steel from us and from Dunaferr
steel mill.
A. Andonovski’s question was why our ratio in August would be 30%? S. Kostadinovic responded due to
vacation time, market situation and full storages of our customers.
P. Kamaras reported that he has agreed with He Steel to proceed with booking.
Supervisory Board adopted Sales strategy for June – August 2016.
Further discussion was made based on B. Milosevic suggestion about termination clause that should be added to
sales contracts.
J.Goodish was of the opinion that this clause can make customers uncertain about future supply and suggested
N. Tijanic and S. Kostadinovic to prepare appropriate letter which will be at the same time acceptable for
Zelezara / its position after closing and which will allow future sales of the new company to the current
customers. It was stressed that any termination announcement or similar would negatively impact future sales
and market for which reason customers should be aware that we do not anticipate interaction nor delays in
delivery or service.
B.Milosevic suggested finding a way and making customers convinced that He Steel will continue with
supplying them.
P. Kamaras stated that 70% of sale is going through Pikaro Company and 30% belongs to Zelezara. He
confirmed that Pikaro’s part would be ensured will accept the annex of the existing agreement that would
include such termination clause as requested by B.Milosevic.




                                                                                2
                      Case 1:18-cv-01773-RDM Document 3-6 Filed 07/31/18 Page 4 of 7




J.Goodish suggested to S. Kostadinovic to prepare a letter to He Steel explaining the sales strategy for
September in order for them to respond adequately to customers.
B. Milosevic suggested this letter to be sent prior to closing.
In addition S. Kostadinovic asked the question about following usage of Order acceptance procedure which is
very important for us and shall we continue to use it and apply same practices which include exceptions from
base approved prices.
J.Goodish suggested to prepare a letter with bullet points what and how we are doing and to deliver that letter in
memo form to He Steel.
Further short discussion was related to MT Comax and approval to continue business with this company since it
is and acknowledged related party doing business at arm’s length basis and the sales to MT Comax will be
executed via Pikaro amended contract that contains the termination clause discussed above.
Supervisory Board accepted this suggestion and approved further business with this Company.




                                                     Point 3

Point 3 Operation and Financial review
Under this Point of the Agenda S. Barica reported in accordance to submitted Management presentation. He
pointed our Safety results and future activities as well as updated Safety Action Plan.
Regarding Environmental he stressed as most important a significant amount for environmental fee that we are
oblige to pay. An appeal regarding the amount level has been submitted in April and we are waiting for a
respond.
J.Goodish has asked if we contacted Municipality in order to offer them slag for free instead of paying the
environmental fee.
N.Tijanic will check if any contact with Municipality has been established regarding this subject. Also stressed
that in the last year (2015) we tried to reduce environmental fee through slag donation and also based on transfer
of land without consideration (no price was paid for title transfer). Official requests were sent but never
responded by the City. Also another request for donation of slag (170.000 mt) was received, currently without
request to providing free transportation.
B. Milosevic asked if Supervisory Board members would agree if B. Bojkovic makes a contact with
Smederevo’s Mayor on this matter, in order to offset environmental fee with value of requested slag.
J. Goodish was of the opinion that we should to wait for respond on Zelezara request since we are facing the
same problem every year.
Further S. Barica reported operations results according to submitted slides.
B. Bojkovic asked about scrap situation.
S. Barica answered that we are a little bit better but still have this problem, lack of scrap. He pointed out
increased price of scrap and our efforts to negotiate with suppliers about price decrease.
About Steel shop results he stressed that we have a problem related to poor lime quality and we have discussion
on that with Carmeuse Co. which is our supplier.
J.Goodish stated his believe that beside poor lime quality we must establish better control and analyze of Steel
shop parameters results.
A. Anodonovski pointed that previously we were buying lime from Slovenia and Italy and asked from whom we
are buying now?
S.Barice responded that we are buying from Jelen Do, Doboj and Carmeuse but we are in process of checking
results from Slovakia and Czech Republic.
S. Barica reported about our planned outage at the BF#1 saying that is a good opportunity to conduct necessary
repairs at the Caster #8.
B. Milosevice suggested requested that planned information on outage is providedinforming to the Supervisory
Board 48 hours prior to outage.
P.Vrchovinsy added that we will mark carryover at the end of this month and it should not be a problem
proceeding with normal outage.
J.Goodish asked about BF#2 operation problems.




                                                                               3
                      Case 1:18-cv-01773-RDM Document 3-6 Filed 07/31/18 Page 5 of 7




S. Barica reported that he will check procedure with GM Primary V. Mihailovic.
Regarding HSM results S. Barica stressed as the most important hot charge results as well as high pressure pump
return into operation.
P.Vrchovinsly reported financial results based on submitted slides but stressed out that due to longer startup of
BF#2 our financial results are not favourable as expected.
B. Milosevic asked if the payment will be processed today toward the six most important foreign suppliers?
P. Vrchovinsky responded positive. Further payments would be to Pikaro, salaries and land conversion. He
pointed out that we would have higher amount related to salaries payment due to vacation allowance.
B. Bojkovic asked about inventories which level should be according to data on December 31, 2015?
P.Vrchovinsky responded about small changes in inventory level with the fact about different raw material mix
and there is an increase in the order book causing increase of work in progress.
B. Milosevic was of the opinion that we must ensure confirmation from He Steel if sales will apply toHesteel
will buy the higher levels of inventory as compared to 31 st December 2015 given the option that Hesteel has as     Formatted: Superscript
per the Asset Sales and Purchase Agreement.
B. Bojkovic asked Mr. Wang to obtain necessary confirmation considering that may have an impact on
acquisition price.


                                                     Point 4

With regard to point 4 of the Agenda - Raw materials plan

Material for the Session has been provided as a part of Point 3 of the Agenda but this Topic was not discussed.


                                                     Point 5

Point 5 of the Agenda – Legal review

- Ardagh – N. Tijanic reported that draft of trial contract with Ardagh has been agreed. Currently it has been
worked on settlement agreement which will enhance future cooperation. Focus is on protection of Zelezara
position too. P. Vrchovinsky confirmed that Ardagh would like to continue cooperation with us after July 1 st
and that is general impression that both parties have firm intention to cooperate in future. In that sense Ardagh
asked for certain detailed and expectations regarding future work.

- FMP – N. Tijanic reported and explained main terms of the Draft Agreement presented into material for this
meeting and discussed at the meeting with FMP representatives held on 03.06.2016. FMP is expected to pay
50% of due debt in term of 7 working days, upon Agreement execution. Otherwise security instruments shall be
realized.

Supervisory Board approved the FMP Agreement in order to proceed with further activities immediately.
Decision and Agreement are integral part of this Minutes.

                                                     Point 6

With regard to point 6 of the Agenda – KPMG – MSA Key Indicators,

Material for the Session has been provided but this Point of the Agenda was not discussed.


                                                     Point 7

With regard to point 7 of the Agenda – Others




                                                                               4
                      Case 1:18-cv-01773-RDM Document 3-6 Filed 07/31/18 Page 6 of 7




7.1 Information on the visit of Zelezara’s management and trade union representatives in Tangshan
during May

S. Barica reported about very positive impressions that all participants have after visiting Tangshan steel mill in
May. He pointed out that the Plant is very modern and in excellent technological condition. Our team had an
opportunity to visit production as well to meet with representatives of Human resources, Technology, IT.
Very good impressions were also about transfer of knowledge and constructive conversation they had with
employees in this mill, young and well educated people. The Team was introduced with new technologies which
ware established alongside with all modern IT improvements.

B. Milosevic asked if the conversation was conducted about continuous improvement process in Zelezara.
S. Barica responded that this was the educational type of visit and on this subject they had just formal
conversation.


S. Barica and N. Tijanic confirmed that in Zelezara everything is ready for closing and taking over process, IT,
Legal, etc.

Under this point of the Agenda has been conducted discussion regarding Free Trade Zone update
B. Milosevice asked if this topic was discussed with representatives of HeSteel?
N. Tijanic explained what has been done so far and what is expected to be accomplished considering that
fulfillment of technical conditions for non-disturbed operation in free zone are demanding in particular customs
requirements. B . Milosevic pointed out Sthat t

There is a part where He Steel as the new owner of Zelezara must apply for entering FTZ system.

Mr. Wang stressed different regulation in China regarding this subject when State ensures all approvals after
request is submitted.

B. Milosevic explained that our regulation is different and certain parts must be made by the owner of the
Company and cannot be approved by the State before the new company file its request for operation in free zone,
meaning that He Steel has formally to initiate procedure in order to procure necessary permits.

7.2 Information on the current shareholders and current authorized legal representatives of HPK
Engineering BV Netherlands, as well as changes in the shareholders and authorized representatives of
HPK Engineering BV Netherlands during the period between 21st May 2015 (signing of the Management
Service Agreement) until today

With regard to this Point, B. Milosevic confirmed that certain information have been provided by P. Kamaras
and from general director of GLS.
He added that since September last year GLS overlaps withis a shareholder in HPK and it is now up to the
Government as the owner of Zelezara to bring outreach a decision about payment to GLS. It is stressed that the
Government will decide on the action which will be taken.

J. Goodish stated his opinion i.e. that GLS contract was properly signed and instituted. Business is done at an
“arm’s length” basis and in fact the records will show that we refused to supply them due to low market prices.
Ownership of HPK changed after the contract was signed, which does not impact the funds due to them for
providing there service. He also commented that once again we were going down a similar road that we did with
2 furnaces. He reminded that government insisted that 2 BFs run and it had catastrophic effects on the plant and
market. He concluded that Government at one point will have to pay since that has been legitimately earned
money. Not paying GLS in his opinion is the wrong decision.

B.Milosevic did not agree with comments from J.Goodish and pointed out that HPK and GLS were related
parties from September and that this fact was not presented to the Supervisory Board although prescribed by the




                                                                                 5
                     Case 1:18-cv-01773-RDM Document 3-6 Filed 07/31/18 Page 7 of 7




MSA. B.Milosevic also pointed out that GLS contract signed in July was never approved by the Supervisory
Board.

7.3 Discussions on the matter of Special Duties owed to the Company by its director and/or SB member
and /or shareholder

This Point of the Agenda was not discussed since P. Kamaras was absent and phone connection was interrupted

7.4 Discussion on operations of Zelezara after the Closing of privatization with Hesteel (Serbia) Iron &
Steel d.o.o. - namely, coordination and staffing need for winding down of Zelezara post-Closing

B. Milosevic asked if there was any discussion regarding to post-closing time?
N. Tijanic responded that there was no discussion to here knowledge. B.Bojkovic added that there will be a need
for joint use of employees for about 3 months period. After-closing operation of Zelezara will be discussed by
special working group on Friday 17.06.2016.



Additional question was made by B. Bojkovic about preparation for upcoming visit of Chinese President to
Zelezara Smederevo?
S. Barica responded that we are working on this event preparation in accordance to instructions that were given
and so far everything is going well.


                                       ***************************


Since under the final item of the Agenda –Other there was no further discussion, the Chairman of the
Supervisory Board stated that all the items of the agenda were completely discussed and adjourned the session of
the Supervisory Board. Members of the Board agreed that date and time for next session will be determinate
additionally.




  Chairman of the Supervisory Board                                Minutes prepared by

   ______________________                                    __________________________
      John Harold Goodish                                            Nataša Tijanić




                                                                              6
